Case 19-33769 Document 25 Filed in TXSB on 10/07/19 Page 1 of 2 Unitory

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UNITED STATES BANKRUPTCY COURT Fy tit or ys
Southern District of Texas Ocr 0» D ‘Prag

| Davy.) 219

 

In re: |Terri Jenkins

 

 

 

)

)

) Case Number 4:2019-bk-33769

). TO
Debtor(s) )

MOTION FOR RELIEF FROM JUDGMENT/ORDER
PURSUANT TO FED.R.BANKR.P, 9024

 

 

Comes now . Terri Jenkins __and request(s) relief
/ (Name of party requesting relief, by counsel if applicable)

from the [23] Order Dismissing Debtor dated 8/20/2019

(Name of or description of judgmenvoraer) (date of order)

and in support of this motion, state(s):

‘Was unable to proceed with the case timely because of illness.

 

 

 

 

 

WHEREFORE, Terri Jenkins - _ ask(s) the Court.to grant this

(Name of part yrequesting relief)
motion and for all other proper relief.

— Hire birten ,

Signature of filing party

 

Signature of joint filing party (as applicable)

OR

Is/
Counsel for Moving Party

 

Address: 11939 Canyon Valley Dr.
. Tomball, TX 77377

 

Area code and phone:
E-mail address:

 

 
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CERTIFICATE OF SERVICE

By signing below | understand that a copy of this document will be sent to the United

States Trustee and the case trustee through the Court's Electronic Case Filing system. |
| further certify the foregoing was served on . 10/4/2019
method indicated below.

(date)

on the following by the

 

Method of Service

 

 

i Address
, Name of Party/Parties . I —_ . ; : "
Name of Pa Parties | (list full address, room/suite numbers, zip codes, etc.) | (see Note re: Rule 7004)
William E. Heitkamp Office of Chapter 13 Trustee _ | ]Certified Mail
9821 Katy Freeway j
Ste590 [x]Regular Mail
Houston, TX 77024 [_]Hand Delivery
. [-]Other: -
US Trustee Office of the US Trustee: [1Certifi ed Mail
515 Rusk Ave
Ste 3516 [x]Regular Mail

Houston, TX 77002

[_]Hand Delivery
[ Other:

 

[_]Certified Mail
[x]Regular Mail
[_]Hand Delivery
[_]Other:

 

 

 

 

(Certified Mail
[x]Regular Mail
[_]Hand Delivery
[_]Other:

 

Date: . 10/4/2019

Signature of filing party

(List additional addresses on a separate sheet and attach.)

 

Signature of joint filing party (as applicable)

OR

/s/

 

Counsel for Moving Party

Note: Service must comply with Federal Rule of Bankruptcy Procedure 7004

 
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